     Case 9:22-bk-10023-DS       Doc 221 Filed 05/24/23 Entered 05/24/23 16:38:56               Desc
                                   Main Document Page 1 of 2


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 5
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     Attorneys for SOUTHWESTERN RESEARCH, INC.
 9   and the DENNIS MUNJACK INTER VIVOS TRUST
10                               UNITED STATES BANKRUPTCY COURT
11                    CENTRAL DISTRICT OF CALIFORNIA - NORTHERN DIVISION
12
     In re:                                            Case No. 9:22-bk-10023-DS
13
     DARRELL DERRICK MAAG,                             Chapter 11
14
                                    Debtor.
15                                                     ORDER ON MOTION TO COMPEL
                                                       PRODUCTION OF DOCUMENTS AND FOR
16
                                                       MONETARY SANCTIONS
17
                                                       Hearing:
18                                                     Date: May 15, 2023
                                                       Time: 12:30 p.m.
19                                                     Place: Courtroom 1639
20                                                            255 East Temple Street
                                                              Los Angeles, California 90012
21                                                            (via ZoomGov)

22            The court held a continued hearing at the above time and place on the “Motion to

23   Compel Production of Documents and For Monetary Sanctions” (the “Motion,” Docket No. 99)

24   filed by Southwestern Research, Inc. (“SRI”). Appearances were noted on the record.

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     Case 9:22-bk-10023-DS      Doc 221 Filed 05/24/23 Entered 05/24/23 16:38:56           Desc
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 1         After considering the Motion, the arguments and statements of counsel made at the

 2   respective hearings, and the record in this case, for the reasons stated on the record at the

 3   hearing,

 4         IT IS HEREBY ORDERED as follows:

 5         1.      With respect to SRI's Request for Production Nos. 1, 2, 3, 4, 8, 11, 17, and 18, all

 6   of the above-captioned debtor’s objections are overruled. The above-captioned debtor is

 7   ordered to immediately produce all responsive documents to these requests.

 8         2.      SRI’s request for monetary sanctions against the above-captioned debtor and his

 9   counsel is denied.

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24        Date: May 24, 2023

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